Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 1 of 7 PAGEID #: 86

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

United States of America,
Plaintiff, Case No.: 2:23-mj-363
Vs. Judge Marbley

Brinson Silver,
Defendant.

SUPPLEMENT TO DEFENDANT’S APPEAL OF MAGISTRRATE JUDGE’S
DENIAL OF MODIFICATION OF DETENTION CONDITIONS

Now comes undersigned Counsel, Phillip A. Templeton, on behalf of Brinson Silver. and
hereby respectfully submits this Supplement to his Appeal of Magistrate Judge’s Denial of

Modification of Detention Conditions, filed on August 31, 2023.

Respectfully submitted.

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Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 2 of 7 PAGEID #: 87

CERTIFICATE OF SERVICE

I hereby certify that on September 12, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:

Counsel for Plaintiff

Peter Glen-Applegate

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Respectfully submitted,

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Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 3 of 7 PAGEID #: 88

Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 4 of 7 PAGEID #: 89

Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 5 of 7 PAGEID #: 90

Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 6 of 7 PAGEID #: 91

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Case: 2:23-mj-00363-CMV-ALM Doc #: 33 Filed: 09/13/23 Page: 7 of 7 PAGEID #: 92

